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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      8:14CR206

       vs.
                                                                        ORDER
JORDAN A. GREGORY,

                      Defendant.


       This matter is before the Court on the defendant’s motion for copies (Filing No. 145),
including the Sentencing Transcripts, Docket Sheet, Judgment and Commitment papers and
Sentencing Memorandum (Statement of Reasons) in this case. The defendant requests a waiver
of fees associated with the costs of the copies. The Court sentenced the defendant on the
Indictment in this case on March 30, 2015 (Filing Nos. 126 and 128).
       No transcripts of the Sentencing held on March 30, 2015 have been prepared by the
Court, therefore no copies are currently available for purchase. At this time, the defendant has no
motions or cases pending before this court, and the defendant makes no showing as to why he
needs these copies. Accordingly, the Court will deny the motion. The defendant is, of course,
free to request copies of these filings and to pay the costs of the same. The defendant may not
obtain a copy of the Statement of Reasons without a Court Order, as the document is sealed.


       THEREFORE, IT IS ORDERED that the defendant’s Motion for Copies and to waive
such costs [145] is denied.




       Dated this 14th day of July, 2015

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
